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                        IN THE UNITED STATES DISTRCT COURT
                         FOR NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KERMIT BLAKLEY, as Father and Next Friend
of D.B., a minor,
                                                             Jury Trial Demanded
                                      Plaintiff,

                       v.                                    No. 18 cv 6020

DEBORAH VONDRASEK TRACY, THERESE
UPHUES HAWKINS, NAZARETH ACADEMY
HIGH SCHOOL, and the ROMAN CATHOLIC
ARCHDIOCESE OF CHICAGO,

                                      Defendants.

                         PLAINTIFF’S EMERGENCY MOTION
                       FOR A TEMPORARY RESTRAINING ORDER

       NOW COMES the Plaintiff, KERMIT BLAKELY, by and through his counsel, pursuant

to Fed. R. Civ. P. 65, moving to enter a temporary restraining order. In support thereof, Plaintiff

states as follows:

                                    BRIEF BACKGROUND

       D.B. is a senior at Nazareth Academy High School where he maintains a 3.1 G.P.A. Next

year, he looks forward to attending the University of Miami, Ohio where he has already received

a scholarship to attend. However, on August 29, 2018, D.B. was expelled as the result of a

racially-discriminatory investigation into alleged misconduct that he adamantly and

unequivocally denies. More troubling, similarly-situated White students who admitted to

engaging in the conduct that Defendants contend D.B. committed were not punished at all.

       As D.B.’s expulsion is a direct and proximate result of racial animus, and nothing more,

he now moves for the entry of a temporary restraining order so that his educational aspirations

are not permanently and irretrievably harmed.

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                                          ARGUMENT

       The standards that govern whether to a grant a temporary restraining order are amply

warranted in this case. A temporary restraining order is used to preserve the status quo until the

court has the opportunity to hold a hearing to determine whether a preliminarily injunction is

warranted. See, e.g. Stocker Hinge Mfg. Co. v. Darnel Industries, Inc, 94 Ill. 2d 535, 541

(1983). A temporary restraining order is an appropriate measure to preserve D.B.’s placement at

Nazareth Academy. The court may grant a TRO if the movant: (1) has some likelihood of

succeeding on the merits, (2) has no adequate remedy at law, and (3) will suffer irreparable harm

if the order is denied. See Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir.1992).

If the movant meets its burden, a court will then consider any irreparable harm to the non-

movant and balance it against the harm to the movant. See id. at 12. In this case, all four

elements to obtain a temporary restraining order have been satisfied.

       First, D.B. has a likelihood of success on the merits, as illustrated in his complaint.

Nazareth breached its contract with Plaintiff and they did so on the basis of his race. D.B. pays

tuition and in doing so contracted with Defendants and was entitled to the same rights as other

students under the School’s Parent-Student Handbook. “[M]aking and enforcing contracts

includes the performance, termination and the enjoyment of all benefits, privileges, terms, and

conditions of private educational contractual relationships.” Parker by Parker v. Trinity High

School, 823 F. Supp. 511, 519 (N.D. Ill. 1993)(internal quotes omitted). Literally not one White

student has been disciplined in any manner whatsoever; meanwhile, D.B., who is Black, has

been expelled. In so doing, the defendants denied that he had a right to appeal his expulsion, then

denied that he was entitled to confront the witnesses against him or the “evidence” that was the

basis of the expulsion, thereby denying him due process.



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       Second, there is no adequate remedy at law as money damages cannot compensate D.B.

for what he will lose. D.B. is a senior in high school who has several pending scholarship offers.

He is currently missing both class and the start of the Football season where several college

recruiters will attend to watch him.

       Finally, D.B. will suffer irreparable harm if this order is denied. If a temporary restraining

order is denied, it would make the preliminary relief sought by D.B. moot as time progresses,

because the school year has started. The alleged incident that gave rise to this suit will not be

repeated in the short time that is needed to conduct a preliminary hearing. Furthermore, if

preliminary relief is denied, the Defendant can still administer discipline accordingly. At the

most critical juncture of D.B.’s life, that will undoubtedly determine the breadth and brightness

of his future, he was unfairly targeted and punished because of the color of his skin. Such

pernicious discrimination ought not be enforced. Accordingly, Plaintiff moves for a temporary

restraining order to preserve the status quo and allow D.B. to remain a student at Nazareth

Academy.

       WHEREFORE the Plaintiff, KERMIT BLAKLEY, as Father and Next Friend of D.B.,

respectfully requests that this Honorable Court grant his motion for a Temporary Restraining

Order providing that Nazareth Academy is enjoined from expelling D.B., and provide any such

other relief as it deems equitable and just.



Dated: 3 August 2018                                          Respectfully Submitted,

                                                              KERMIT BLAKELY, as Father and
                                                              Next Friend of D.B., a minor

                                                      By:     /s/ Jeanette Samuels____________

                                                              Samuels & Associates, Ltd.

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